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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,             No.   2:18-cr-00030-JAM-3
12                  Plaintiff,
13         v.                              ORDER FOR VOLUNTARY SURRENDER
14   RAUL DIAZ,
15                  Defendant.
16

17        Defendant Raul Diaz, having been sentenced to the custody of

18   the Bureau of Prisons, shall surrender to the institution

19   designated by the Bureau of Prisons, or if no such institution

20   has been designated, to the United States Marshal in Sacramento,

21   California before 2:00 p.m. on August 9, 2019.          The defendant is

22   further advised it is a criminal offense punishable by a

23   consecutive term of imprisonment to fail to surrender for service

24   of sentence pursuant to the order of this Court.          All conditions

25   of pretrial release shall remain in effect until the defendant

26   surrenders in accordance with this order.

27        The Court reserves jurisdiction over this matter, and will

28   only change the date or time of voluntary surrender upon motion
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 1   of either the defendant or the government with good cause
 2   appearing.
 3        The Clerk is directed to serve the U.S. Marshals Service a
 4   copy of the order.
 5        IT IS SO ORDERED.
 6   Dated:   May 21, 2019
 7                                             /s/ John A. Mendez__________
 8                                             John A. Mendez,
                                               United States District Judge
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